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                                                          onebeaconhc.com




RE:   Excess Medical Facilities Liability Coverage
      Sonic Healthcare Investments, G.P.
                                                                                       Policy

  06.26.2017        Account No: 34379                        Policy No: MFX-002013-0617




                                   199 Scott Swamp Road                      877.701.0171 t
                                   Farmington, CT 06032                      866.625.3590 f
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                                                                                                  IL P 001 01 04


    U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                ASSETS CONTROL ("OFAC")
           ADVISORY NOTICE TO POLICYHOLDERS

No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
          Foreign agents;
          Front organizations;
          Terrorists;
          Terrorist organizations; and
          Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
Treasury's web site http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
Other limitations on the premiums and payments also apply.




IL P 001 01 04                             © ISO Properties, Inc., 2004                                  Page 1 of 1
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Homeland Insurance Company of New York
1000 Woodbury Road, Suite 403
Woodbury, NY 11797

                                                                        Policy Number: MFX-002013-0617

                                                  DECLARATIONS

                                       FOLLOW FORM EXCESS POLICY

NOTICE: PORTIONS OF THIS POLICY APPLY ONLY TO CLAIMS FIRST MADE AGAINST THE INSURED
AND REPORTED TO THE UNDERWRITER DURING THE POLICY PERIOD.
         .

ITEM 1.      NAMED INSURED
             Name and Principal Address:

Sonic Healthcare Investments, G.P.
9737 Great Hills Trl Ste 100
Austin, TX 78759-6449
ITEM 2.      POLICY PERIOD:

(a) Inception Date: June 30, 2017
(b) Expiration Date: June 30, 2018
Both dates at 12:01 a.m. at the Principal Address in ITEM 1.

ITEM 3.      LIMIT(S) OF LIABILITY (subject to Section IV and inclusive of Defense Expenses):

                         Per Claim
                         Aggregate
ITEM 4.     UNDERLYING INSURANCE:
Carrier                 Policy Number       Limits of Liability                     Coverage
See Schedule of Underlying Insurance Endorsement


ITEM 5.      PREMIUM:

                         The Underwriter will pay a percentage of the Premium shown above as
          brokerage commission. The Underwriter does not pay contingent or deferred
          commissions. Consult your broker for information concerning commission.
      X                The Premium shown above is net, and the Underwriter will pay no brokerage
          commission of any kind thereon.
 N/A      This Policy provides coverage for acts of terrorism as defined in the Terrorism Risk Insurance Act in
          accordance with all the terms and conditions of this Policy (including all endorsements attached
          hereto). The premium attributable to this coverage is $0

  X       This Policy specifically excludes coverage for acts of terrorism in accordance with all of the terms and
          conditions of this Policy (including all endorsements attached hereto).




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ITEM 6.     ALL NOTICES REQUIRED TO BE GIVEN TO THE UNDERWRITER UNDER SECTION VIII
            OF THE POLICY MUST BE ADDRESSED TO:

             Claims
             OneBeacon Insurance
             199 Scott Swamp Road
             Farmington, CT 06032
             obiclaims@onebeacon.com
ITEM 7.     POLICY FORM AND ENDORSEMENTS ATTACHED AT ISSUANCE:
PF-0008-05-07                      Follow Form Excess Policy
AMP-00008-10-15                    Service of Suit
HPL-X-0004                         Minimum Earned Premium
HPL-X-0006                         Mold, Mildew And Other Fungi Exclusion
HPL-X-0009                         Schedule of Underlying Insurance
HPL-X-0029FF-06-07                 Grace Period for Notice of Claims Upon Renewal of Policy
HPL-X-0037                         Pollution Exclusion
HPL-X-0107FF-03-09                 Not Follow Form Of Sublimited Coverage(s)
HPL-X-0122FF                       Network Security and Privacy Exclusion



These Declarations, the completed signed Application, and the Policy (together with any and all endorsements
thereto) shall constitute the entire agreement between the Underwriter and the Insured(s).

Homeland Insurance Company of New York
By:




                                                                               06.26.2017
Its Authorized Representative                                                   Date




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            THIS IS A CLAIMS MADE POLICY WHICH APPLIES ONLY TO ANY
           CLAIM FIRST MADE AGAINST THE INSURED DURING THE POLICY
         PERIOD. THE LIMITS OF LIABILITY AVAILABLE TO PAY DAMAGES OR
      SETTLEMENTS SHALL BE REDUCED AND MAY BE EXHAUSTED BY PAYMENT OF
                               DEFENSE EXPENSES.

                           Homeland Insurance Company of New York

                                   FOLLOW FORM EXCESS POLICY

        In consideration of the payment of the premium, and in reliance on all statements made and
        information furnished to Homeland Insurance Company of New York (hereinafter called the
                                                                                         all of the
        terms, conditions and endorsements of this Policy, the Underwriter and the Insured agree as
        follows:

I.     INSURING AGREEMENT

(A)     The Underwriter shall provide the Insured with insurance excess of the Underlying Insurance set
        forth in ITEM 4 of the Declarations, provided that the Underlying Insurance also applies and has been
        exhausted by actual payment thereunder, or would apply but for the exhaustion of the applicable limit(s)
        of liability thereunder.

(B)     With respect to any coverage provided by the Underlying Insurance on a claims-made basis, this
        Policy applies only to Claims first made against the Insured during the Policy Period. In all events,
        Professional Liability coverage shall be deemed to apply on a claims-made basis.

(C)     With respect to any coverage (other than Professional Liability coverage) provided by the Underlying
        Insurance on an occurrence basis, this Policy applies only to Claims arising out of an occurrence
        during the Policy Period.

(D      This Policy will apply in conformance with, and will follow the form of, the terms, conditions, agreements,
        exclusions, definitions and endorsements of the Underlying Insurance, except:

        (1)     the Underwriter will have no obligation under this Policy with respect to any Claim that is settled



        (2)     with respect to any provisions to the contrary contained in this Policy;

        (3)     the applicable limit of liability of the Underlying Insurance shall be deemed to be reduced or
                exhausted solely as a result of payments for loss or damages (including costs, charges and
                expenses) that are covered under this Policy; and

        (4)     the coverage provided by this Policy shall not be broader than any Underlying Insurance
                unless expressly provided herein, including any endorsement hereto.

(E)     The Underwriter will not have any obligation to make any payment hereunder unless and until the full
        amount of the applicable limit of liability of the Underlying Insurance has been paid by the issuer(s) of
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        the Underlying Insurance, the Insured or by another party on behalf, or for the benefit, of the
        Insured or the issuer(s) of the Underlying Insurance.

II.    DEFINITIONS

(A)      Application
        submitted in connection with such application, all of which are on file with the Underwriter and are a part of
        the Policy, as if physically attached.

(B)      Claim has the meaning ascribed to it (or similar term) in the Underlying Insurance.

(C)                             has the meaning ascribed to it (or similar term) in the Underlying Insurance.

(D)                means the persons or organizations insured under the Underlying Insurance.

(E)                       means the period from the inception date to the expiration date in ITEM 2 of the
        Declarations, or to any earlier cancellation date.

(F)                        means the policy scheduled as such in ITEM 4 of the Declarations.

(G)                                  means all insurance policies or risk transfer instruments (including, but not
        limited to, self-insured retentions or other alternative arrangements) scheduled in ITEM 4 of the
        Declarations and any policies or risk transfer arrangements renewing or replacing them.

III.    UNDERLYING INSURANCE

(A)     All of the Underlying Insurance scheduled in ITEM 4 of the Declarations shall be maintained during the
        Policy Period in full force and effect, except for any reduction of the limits of liability available under the
        Underlying Insurance solely by reason of actual payment of Claims or losses thereunder. Subject at
        all times to clause (D) of this SECTION III, this Policy shall not be invalidated solely by reason of any
        failure of the Insured to comply with the foregoing, but under no circumstances shall the Underwriter be
        liable under this Policy earlier, or to any greater extent, than it would have been if the Insured had
        complied with this provision.

(B)     Without prejudice to any rights of the Underwriter, in the event of any actual or alleged (1) failure by the
        Insured to give any notice or to exercise any extensions under any Underlying Insurance, or (2)
        misrepresentation or breach of warranty by the Insured with respect to any Underlying Insurance,
        the Underwriter will not be liable under this Policy earlier or to any greater extent than it wo uld have
        been in the absence of such actual or alleged failure, misrepresentation or breach of warranty.

(C)     No amendment or modification to any Underlying Insurance shall be binding upon the Underwriter or
        effective in extending the coverage or limits of liability afforded by this Policy without the express written
        agreement of the Underwriter.

(D)     Notwithstanding anything to the contrary contained in this Policy, this Policy shall terminate immediately
        upon the rescission of any Underlying Insurance.

IV.     LIMIT OF LIABILITY


       and shall be the maximum amount, including Defense Expenses, payable by the Underwriter under this
       Policy. The limit of liability available to pay damages or settlements shall be reduced, and may be
       exhausted, by the payment of Defense Expenses.
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V.      DEFENSE EXPENSES AND SETTLEMENTS

        In the event a Claim is made which involves the coverage afforded by this Policy, no Defense
        Expenses
        unreasonably withheld.

        The Insured shall not admit liability for, or settle or offer to settle any Claim for, any amount that


VI.     CLAIM PARTICIPATION

        The Underwriter may, at its sole discretion, elect to associate in the investigation, settlem ent or defense
        of any Claim against the Insured, even if the Underlying Insurance has not been exhausted. If the
        Underwriter so elects, the Insured will cooperate with the Underwriter and will make available all such
        information and records as the Underwriter may reasonably require.

VII.    SUBROGATION AND RECOVERIES

        In the event of any payment under this Policy, the Underwriter will be subrogated to all the
        rights of recovery against any person or entity, and the Insured shall execute and deliver all instruments
        and papers and do whatever else is necessary to secure such rights. The Insured shall do nothing that

        Insured under this provision shall survive the expiration or termination of this Policy. The expenses of all
        such recovery proceedings shall be first subtracted from the amount of any recovery and the remaining
        amount so recovered shall be apportioned in the inverse order of payment to the extent of actual
        payment.

VIII.   NOTICE

        As a condition precedent to any right to payment of the Insured under this Policy, and in accordance
        with ITEM 6 of the Declarations, the Insured
        notice of:

        (A)     any Claim under the Underlying Insurance as soon as possible, and in any event within the
                time period set forth by the Underlying Insurance with respect to notice of Claims; and

        (B)     any matter with respect to which notice has been provided under any Underlying Insurance.

        With respect to Underlying Insurance written on a claims-made basis, if the Insured exercises the right
        under the Underlying Insurance to report a Notice of Circumstance (as defined below), then the
        Insured must also report such Notice of Circumstance to the Underwriter prior to the expiration of the
        Policy Period, and in such event any Claim that subsequently may arise out of such circumstance shall
        be deemed to have been made during the Policy Period in which such Notice of Circumstance first was
        reported.



        of which the Insured becomes aware during the Policy Period that may subsequently give rise to a
        Claim.

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IX.    ALTERATION

       No change in or modification of this Policy shall be effective unless made by endorsement signed by an
       authorized employee or agent of the Underwriter.

X.     POLICY TERMINATION

(A)    The Insured may cancel this Policy at any time by delivering by hand delivery or overnight mail service
       or by mailing registered, certified or other first-class mail, written notice stating when thereafter such
       cancellation is to be effective.

(B)    The Underwriter may cancel this Policy only in accordance with the terms and conditions of the
       Underlying Insurance.

(C)    The Underwriter will refund any unearned premium computed at its customary short rate if the Policy is
       canceled by the Insured. Under all other circumstances, any unearned premium shall be computed pro
       rata.

(D)    The Underwriter will have no obligation to renew this Policy upon its expiration.

XI.    REPRESENTATIONS; SEVERABILITY


       The Insured represents that the particulars and statements contained in the Application are true,
       accurate and complete, and agree that this Policy is issued in reliance on the truth of that representation,
       and that such particulars and statements, which are deemed to be incorporated into and to constitute a
       part of this Policy, are the basis of this Policy. No knowledge or information possessed by any Insured
       will be imputed to any other Insured except for material facts or information known to the person or
       persons who signed the Application. In the event that any of the particulars or statements in the
       Application is untrue, this Policy will be void with respect to any Insured who knew of such untruth or
       to whom such knowledge is imputed.

XII.   AUTHORIZATION AND NOTICES

       The person or entity first named in ITEM 1 of the Declarations shall be the sole agent, and shall act on
       behalf, of the Insured with respect to all matters under this Policy, including but not limited to giving
       and receiving notices and other communications, effecting or accepting any endorsements to or notice of
       cancellation of this Policy, the payment of premium and the receipt of any return premiums.



       In Witness Whereof, the Underwriter has caused this Policy to be executed by its authorized
       officers.




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                                           ENDORSEMENT NO. 1

                                   SERVICE OF SUIT ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on June 30, 2017           , forms part of:

      Policy No.      MFX-002013-0617
      Issued by       Homeland Insurance Company of New York
      Issued to       Sonic Healthcare Investments, G.P.



In consideration of the premium charged:

(1)     We designate and authorize the following person as our agent for service of process for any proceeding
        brought by or on behalf of the insured, or any beneficiary under this policy, and arising out of this policy
        of insurance. Such service of process must be made by certified mail return receipt requested to:

                   General Counsel
                   OneBeacon Insurance Group - Legal Department
                   605 North Highway 169
                   Suite 800
                   Plymouth, MN 55441

(2)     If required by applicable statute, we also designate the Superintendent, Commissioner or Director of
        Insurance, or other officer or individual specified in the law of the jurisdiction in which this policy is
        issued, to receive on our behalf service of process for any proceeding brought by or on behalf of the
        insured, or any beneficiary under this policy, and arising out of this policy of insurance. We authorize the
        Superintendent, Commissioner, Director or other officer or individual upon whom service is made to mail
        a copy of the process to the person identified in Paragraph 1. above.

(3)     In Rhode Island, we also designate and authorize the following person as our agent for service of process
        for any proceeding brought by or on behalf of the insured, or any be neficiary under this policy, and
        arising out of this policy of insurance:

                   Sherry A. Goldin
                   10 Weybosset Street
                   Providence, Rhode Island 02903



(4)     In Oregon, service of process for any proceeding brought by or on behalf of the insured, or any
        beneficiary under this policy, and arising out of this policy of insurance may be made upon the insurance
        producer in the courts for the county where the insurance producer who registered or delivered the policy
        resides or transacts business.

(5)     By agreeing to the service of process provisions above, we do not waive our right to commence an action
        in any court of competent jurisdiction in the United States, remove an action to a United States District
        Court or seek a transfer of a case to another court as permitted by the laws of the United States or of
        any state within the United States.




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All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                           ENDORSEMENT NO. 2

                           HEALTHCARE EXCESS INDEMNITY POLICY
                          MINIMUM EARNED PREMIUM ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on June 30, 2017              , forms part of:

       Policy No.      MFX-002013-0617
       Issued by       Homeland Insurance Company of New York
       Issued to       Sonic Healthcare Investments, G.P.



In consideration of the premium charged:

It is understood and agreed that, for all purposes under the Policy, premium in the amount of $
will be deemed fully earned as of the Inception Date set forth in Item 2(a) of the Declarations.




All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                               ENDORSEMENT NO. 3

                              HEALTHCARE EXCESS INDEMNITY POLICY
                            MOLD, MILDEW AND OTHER FUNGI EXCLUSION
This Endorsement, which is effective at 12:01 a.m. on June 30, 2017                            , forms part of:

      Policy No.       MFX-002013-0617
      Issued by        Homeland Insurance Company of New York
      Issued to        Sonic Healthcare Investments, G.P.




In consideration of the premium charged:

(1)   No coverage will be available under this Policy for

      (a)       Claims for Bodily Injury, Property Damage, Personal Injury or Advertising Injury based on, arising out
                of, directly or indirectly resulting from, in consequence of, or in any way involving exposure to, or the
                manifestation, release, dispersal, seepage, migration, discharge, appearance, presence, reproduction
                or growth of, mold, mildew, spores, mycotoxins, fungi, organic pathogens or other micro organisms
                of any type, nature or description whatsoever;

      (b)       any cost, expense or charge to test for, monitor, clean up, remediate, mitigate, remove, contain,
                treat, detoxify, neutralize, rehabilitate, or in any other way respond to or assess the effect(s) of mold,
                mildew, spores, mycotoxins, fungi, organic pathogens or other micro organisms of any type, nature
                or description whatsoever; or

      (c)       any cost, expense, charge, fine or penalty incurred, sustained or imposed by order, direction, request
                or agreement of any court, governmental agency, regulatory body or civil, public or military authority
                in connection with or in any way relating to mold, mildew, spores, mycotoxins, fungi, organic
                pathogens or other micro organisms of any type, nature or description whatsoever;

      provided, however, that this exclusion shall not apply to any Claim based on, arising out of, directly or

      spores, mycotoxins, fungi, organic pathogens or other micro organisms of any type, nature or description
      whatsoever in connection with the rendering of Medical Services, including medical research activities.

(2)   For the purposes of this endorsement:

      (i)                                                                             following offenses:

                (a)   oral or written publication of material that slanders or libels a person or an organization or


                (b)   oral or written publication of material that violates a per

                (c)   misappropriation of advertising ideas or style of doing business.

      (ii)
                resulting from any of these at any time; mental anguish; and mental injury.

      (iii)

      (iv)

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             offenses:

             (a)   false arrest, detention or imprisonment;

             (b)   malicious prosecution;

             (c)   the wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of
                   a room, dwelling or premises that a person occupies by or on behalf of its owner, landlord or
                   lessor;

             (d)   oral or written publication of material that slanders or libels a person or an organization or


             (e)                                                                      ht of privacy.

      (v)

             (a)   physical injury to tangible property, including all resulting loss of use of that property;
                   provided, that such loss of use shall be deemed to have occurred at the time of the physical
                   injury that caused it; or

             (b)   loss of use of tangible property that is not physically injured; provided, that such loss of use
                   shall be deemed to occur at the time of the occurrence that caused it.




All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                           ENDORSEMENT NO. 4

                        HEALTHCARE EXCESS INDEMNITY POLICY
                   SCHEDULE OF UNDERLYING INSURANCE ENDORSEMENT

This Endorsement, which is effective at 12:01 a.m. on June 30, 2017             , forms part of:

      Policy No.     MFX-002013-0617
      Issued by      Homeland Insurance Company of New York
      Issued to      Sonic Healthcare Investments, G.P.



In consideration of the premium charged:



Carrier                    Policy#                       Limit                           Coverage


A OneBeacon Company        MFL-004062-0617                            Each Claim         Professional Liability
                                                                      Aggregate

All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                           ENDORSEMENT NO. 5

          GRACE PERIOD FOR NOTICE OF CLAIMS UPON RENEWAL OF POLICY

This Endorsement, which is effective at 12:01 a.m. on June 30, 2017                        , forms part of:

      Policy No.    MFX-002013-0617
      Issued by     Homeland Insurance Company of New York
      Issued to     Sonic Healthcare Investments, G.P.



In consideration of the premium charged, in the event that this Policy is renewed by the Underwriter:

1.    Clause (A) of Section VIII, NOTICE, of this Policy is amended to read in its entirety as follows:

              (A)      any Claim under the Underlying Insurance as soon as possible, but in no event later
                       than sixty (60) days after the expiration date set forth in ITEM 2(b) of the Declarations;
                       and

2.    The penultimate paragraph of Section VIII, NOTICE, of this Policy is amended to read in its entirety as
      follows:

              With respect to Underlying Insurance written on a claims-made basis, if the Insured exercises
              a right under the Underlying Insurance to provide Notice of Circumstance (as defined below),
              then the Insured must also provide such Notice of Circumstance to the Underwriter as soon as
              possible, but in no event later than sixty (60) days after the expiration date set forth in ITEM 2(b)
              of the Declarations, and in such event any Claim that subsequently may arise out of such
              circumstance shall be deemed to have been made during the Policy Period.

It is understood and agreed that the amendments set forth above shall apply        in the event this Policy is
renewed by the Underwriter. In the event that this Policy is not renewed by the Underwriter, Clause (A) of
Section VIII, NOTICE, of this Policy shall remain unchanged, such that as a condition precedent to any right to
payment of the Insured under this Policy, the Insured shall give the Underwriter written notice of any Claim
under the Underlying Insurance as soon as possible, and in any event within the time period set forth by the
Underlying Insurance with respect to notice of Claims.

No other provision of Section VIII, NOTICE of this Policy shall be deemed or construed to have been modified or
amended in any way by reason of this endorsement.



All other terms, conditions and limitations of this Policy shall remain unchanged.




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                                           ENDORSEMENT NO. 6

                             HEALTHCARE EXCESS INDEMNITY POLICY
                                    POLLUTION EXCLUSION
This Endorsement, which is effective at 12:01 a.m. on June 30, 2017              , forms part of:

       Policy No.   MFX-002013-0617
       Issued by    Homeland Insurance Company of New York
       Issued to    Sonic Healthcare Investments, G.P.




In consideration of the premium charged:

1.      No coverage will be available under this Policy for any Claim based on, arising out of, directly or indirectly
        resulting from, or in any way involving any:

        (a) actual or alleged exposure to, or generation, storage, manifestation, transportation, discharge,
            emission, release, dispersal, seepage, migration, escape, appearance, presence, reproduction,
            growth, treatment, removal or disposal of, any Pollutant, except where such exposure, generation,
            storage, manifestation, transportation, discharge, emission, release, dispersal, seepage, migration,
            escape, appearance, presence, reproduction, growth, treatment, removal or disposal was caused by
            an unintentional fire or any heat, smoke or fumes issuing from such unintentional fire;

        (b) fee, cost, expense or charge to test for, monitor, clean up, remediate, mitigate, remove, contain,
            treat, detoxify, neutralize or rehabilitate any Pollutant;

        (c)   fee, cost, expense, charge, fine or penalty incurred, sustained or imposed by order, direction,
              request or agreement of any court, governmental agency, regulatory body or civil, public or military
              authority in connection with or in any way relating to any Pollutant;

        except this exclusion will not apply to any Claim for Bodily Injury or Property Damage caused by heat,
        smoke or fumes from a Hostile Fire.

     2. For the purposes of this endorsement:

        (a)    The terms Bodily Injury and Property Damage shall have the meanings ascribed to them in the
               Underlying Insurance;

        (b)    t          Pollutant
               gases, medical waste, waste materials (including materials which are intended to be or have been
               recycled, reconditioned or reclaimed) or other irritants, pollutants or contaminants. Pollutant does
               not include smoke, fumes, vapor or soot emanating from equipment used to heat or cool a building
               owned or operated by the Named Insured; and

        (c)
               intended to be contained; provided, that Hostile Fire does not include any fire that originates at any
               site operating as a waste disposal facility or waste storage facility.

All other terms, conditions and limitations of the Policy shall remain unchanged.




HPL-X-0037                                                                                                Page 1 of 1
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                                             ENDORSEMENT NO. 7

              NOT FOLLOW FORM OF SUBLIMITED COVERAGE(S) ENDORSEMENT
                       (RECOGNITION OF UNDERLYING EROSION)
This Endorsement, which is effective at 12:01 a.m. on June 30, 2017                 , forms part of:

      Policy No.      MFX-002013-0617
      Issued by       Homeland Insurance Company of New York
      Issued to       Sonic Healthcare Investments, G.P.




In consideration of the premium charged:

(1)     It is understood and agreed that notwithstanding any provision to the contrary in this Policy, no coverage
        will be available under this Policy for any Claim which is subject to a Sublimit (as defined below) in any
        Underlying Insurance.

(2)     Notwithstanding Section I INSURING AGREEMENT (D)(3) of this Policy and solely with respect to Claims
        which are subject to a Sublimit in any Underlying Insurance, for purposes of determining when
        coverage afforded under this Policy shall attach, it is understood and agreed that the applicable limit(s) of
        liability of any Underlying Insurance shall be deemed to have been reduced, and may be exhausted,
        by the payment of loss or damages (including Defense Expenses) in connection with any such Claim.

(3)     For                                              Sublimit                                       Underlying
        Insurance which:

        (a)        applies only to a particular grant of coverage under such Underlying Insurance, and

        (b)        is part of, and not in addition to the otherwise applicable limits of liability of such Underlying
                   Insurance.


All other terms, conditions and limitations of this Policy shall remain unchanged.




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